   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 1 of 72 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

FINJAN, INC., a Delaware Corporation,          )
                                               )
               Plaintiff,                      )
                                               )
        v.                                     )     C.A. No.
                                               )
RAPID7, INC., a Delaware Corporation           )     JURY TRIAL DEMANDED
and RAPID7 LLC, a Delaware Limited             )
Liability Company,                             )
                                               )
               Defendants.                     )

                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Finjan, Inc. (“Finjan”) files this Complaint for Patent Infringement and Demand

for Jury Trial against Rapid7, Inc. and Rapid7 LLC (collectively, “Defendants” or “Rapid7”) and

alleges as follows:

                                        THE PARTIES

       1.      Finjan is a Delaware Corporation with its principal place of business at 2000

University Avenue, Suite 600, E. Palo Alto, California 94303.

       2.      Rapid7, Inc. is a Delaware Corporation with its principal place of business at 100

Summer Street, Boston, Massachusetts.

       3.      Rapid7 LLC is a Delaware limited liability company and a wholly-owned

subsidiary of Rapid7, Inc. with its principal place of business at 100 Summer Street, Boston,

Massachusetts.

                                JURISDICTION AND VENUE

       4.      This action arises under the Patent Act, 35 U.S.C. § 101 et seq. This Court has

original jurisdiction over this controversy pursuant to 28 U.S.C. §§ 1331 and 1338.
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 2 of 72 PageID #: 2



       5.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and

1400(b).

       6.      This Court has personal jurisdiction over Defendants. Defendants are organized

under the laws of Delaware. In addition, the Court has personal jurisdiction over Defendants

because Defendants have established minimum contacts with the forum and the exercise of

jurisdiction would not offend traditional notions of fair play and substantial justice.

                                   FINJAN’S INNOVATIONS

       7.      Finjan was founded in 1997 as a wholly-owned subsidiary of Finjan Software

Ltd., an Israeli corporation. In 1998, Finjan moved its headquarters to San Jose, California.

Finjan was a pioneer in developing proactive security technologies capable of detecting

previously unknown and emerging online security threats, recognized today under the umbrella

term “malware.” These technologies protect networks and endpoints by identifying suspicious

patterns and behaviors of content delivered over the Internet. The United States Patent and

Trademark Office (“USPTO”) has awarded Finjan, and Finjan continues to prosecute, numerous

patents covering innovations in the United States and around the world resulting directly from

Finjan’s more than decades-long research and development efforts, supported by a dozen

inventors and over $65 million in R&D investments.

       8.      Finjan built and sold software, including application program interfaces (APIs)

and appliances for network security, using its patented technologies. Finjan’s licensing partners

continue to support these products and related customers. At its height, Finjan employed nearly

150 employees around the world, building and selling security products and operating the

Malicious Code Research Center, through which it frequently published research regarding

network security and current threats on the Internet. Finjan’s pioneering approach to online




                                                  2
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 3 of 72 PageID #: 3



security drew equity investments from two major software and technology companies, the first in

2005 followed by the second in 2006. Finjan generated millions of dollars in product sales and

related services and support revenues through 2009, when it spun off certain hardware and

technology assets in a merger. Pursuant to this merger, Finjan was bound to a non-compete and

confidentiality agreement, under which it could not make or sell a competing product or disclose

the existence of the non-compete clause. Finjan became a publicly traded company in June

2013, capitalized with $30 million. After Finjan’s obligations under the non-compete and

confidentiality agreement expired in March 2015, Finjan re-entered the development and

production sector of secure mobile products for the consumer market.

                              FINJAN’S ASSERTED PATENTS

       9.      On July 5, 2011, the USPTO issued to Moshe Rubin, Moshe Matitya, Artem

Melnick, Shlomo Touboul, Alexander Yermakov and Amit Shaked U.S. Patent No. 7,975,305

(“the ‘305 Patent”), titled METHOD AND SYSTEM FOR ADAPTIVE RULE-BASED

CONTENT SCANNERS FOR DESKTOP COMPUTERS. A true and correct copy of the ‘305

Patent is attached to this Complaint as Exhibit 1 and is incorporated by reference herein.

       10.     All rights, title, and interest in the ‘305 Patent have been assigned to Finjan, who

is the sole owner of the ‘305 Patent. Finjan has been the sole owner of the ‘305 Patent since its

issuance.

       11.     The ‘305 Patent is generally directed towards network security and, in particular,

rule based scanning of web-based content for exploits. One of the ways this is accomplished is

by using parser and analyzer rules to describe computer exploits as patterns of types of tokens.

Additionally, the system provides a way to keep these rules updated. The ‘305 Patent discloses

and specifically claims inventive concepts that represent significant improvements over




                                                 3
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 4 of 72 PageID #: 4



conventional network security technology that was available at the time of filing of the ‘305

Patent and are more than just generic software components performing conventional activities.

       12.     On July 17, 2012, the USPTO issued to Moshe Rubin, Moshe Matitya, Artem

Melnick, Shlomo Touboul, Alexander Yermakov and Amit Shaked U.S. Patent No. 8,225,408

(“the ‘408 Patent”), titled METHOD AND SYSTEM FOR ADAPTIVE RULE-BASED

CONTENT SCANNERS. A true and correct copy of the ‘408 Patent is attached to this

Complaint as Exhibit 2 and is incorporated by reference herein.

       13.     All rights, title, and interest in the ‘408 Patent have been assigned to Finjan, who

is the sole owner of the ‘408 Patent. Finjan has been the sole owner of the ‘408 Patent since its

issuance.

       14.     The ‘408 Patent is generally directed towards network security and, in particular,

rule based scanning of web-based content for a variety of exploits written in different

programming languages. One of the ways this is accomplished is by expressing the exploits as

patterns of tokens. Additionally, the disclosed system provides a way to analyze these exploits

by using a parse tree. The ‘408 Patent discloses and specifically claims inventive concepts that

represent significant improvements over conventional network security technology that was

available at the time of filing of the ‘408 Patent and are more than just generic software

components performing conventional activities

       15.     On July 13, 2010, the USPTO issued to David Gruzman and Yuval Ben-Itzhak

U.S. Patent No. 7,757,289 (“the ‘289 Patent”), titled SYSTEM AND METHOD FOR

INSPECTING DYNAMICALLY GENERATED EXECUTABLE CODE. A true and correct

copy of the ‘289 Patent is attached to this Complaint as Exhibit 3 and is incorporated by

reference herein.




                                                 4
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 5 of 72 PageID #: 5



       16.     All rights, title, and interest in the ‘289 Patent have been assigned to Finjan, who

is the sole owner of the ‘289 Patent. Finjan has been the sole owner of the ‘289 Patent since its

issuance.

       17.     The ‘289 Patent is generally directed towards a system and method for inspecting

dynamically generated executable code. The claims generally cover receiving content with an

original call function and replacing the original call function with a substitute call function, and

then determining whether it is safe to invoke the original call function. The ‘289 Patent discloses

and specifically claims inventive concepts that represent significant improvements over

conventional network security technology that was available at the time of filing of the ‘289

Patent and are more than just generic software components performing conventional activities.

       18.     On November 3, 2009, the USPTO issued to Yuval Ben-Itzhak U.S. Patent No.

7,613,918 (“the ‘918 Patent”), titled SYSTEM AND METHOD FOR ENFORCING A

SECURITY CONTEXT ON A DOWNLOADABLE. A true and correct copy of the ‘918 Patent

is attached to this Complaint as Exhibit 4 and is incorporated by reference herein.

       19.     All rights, title, and interest in the ‘918 Patent have been assigned to Finjan, who

is the sole owner of the ‘918 Patent. Finjan has been the sole owner of the ‘918 Patent since its

issuance.

       20.     The ‘918 Patent is generally directed towards a system and method for enforcing

a security context on a Downloadable. One way this is accomplished is by making use of

security contexts that are associated within certain user/group computer accounts when deriving

a profile for code received from the Internet. The ‘918 Patent discloses and specifically claims

inventive concepts that represent significant improvements over conventional network security




                                                  5
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 6 of 72 PageID #: 6



technology that was available at the time of filing of the ‘918 Patent and are more than just

generic software components performing conventional activities.

       21.     On December 13, 2011, the USPTO issued to Yigal Mordechai Edery, Nimrod

Itzhak Vered, David R. Kroll and Shlomo Touboul U.S. Patent No. 8,079,086 (“the ‘086

Patent”), titled MALICIOUS MOBILE CODE RUNTIME MONITORING SYSTEM AND

METHODS. A true and correct copy of the ‘086 Patent is attached to this Complaint as Exhibit

5 and is incorporated by reference herein.

       22.     All rights, title, and interest in the ‘086 Patent have been assigned to Finjan, who

is the sole owner of the ‘086 Patent. Finjan has been the sole owner of the ‘086 Patent since its

issuance.

       23.     The ‘086 Patent is generally directed towards computer networks and, more

particularly, provides a system that protects devices connected to the Internet from undesirable

operations from web-based content. One of the ways this is accomplished is by creating a profile

of the web-based content and sending these profiles and corresponding web-content to another

computer for appropriate action. The ‘086 Patent discloses and specifically claims inventive

concepts that represent significant improvements over conventional network security technology

that was available at the time of filing of the ‘086 Patent and are more than just generic software

components performing conventional activities.

       24.     On March 20, 2012, the USPTO issued to David Gruzman and Yuval Ben-Itzhak

U.S. Patent No. 8,141,154 (“the ‘154 Patent”), titled SYSTEM AND METHOD FOR

INSPECTING DYNAMICALLY GENERATED EXECUTABLE CODE. A true and correct

copy of the ‘154 Patent is attached to this Complaint as Exhibit 6 and is incorporated by

reference herein.




                                                 6
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 7 of 72 PageID #: 7



       25.     All rights, title, and interest in the ‘154 Patent have been assigned to Finjan, who

is the sole owner of the ‘154 Patent. Finjan has been the sole owner of the ‘154 Patent since its

issuance.

       26.     The ‘154 Patent is generally directed towards a gateway computer protecting a

client computer from dynamically generated malicious content. One of the ways this is

accomplished is by using a content processor to process a first function and invoke a second

function if a security computer indicates that it is safe to invoke the second function. The ‘154

Patent discloses and specifically claims inventive concepts that represent significant

improvements over conventional network security technology that was available at the time of

filing of the ‘154 Patent and are more than just generic software components performing

conventional activities.

       27.     On March 18, 2014, the USPTO issued to Yigal Mordechai Edery, Nimrod Itzhak

Vered, David R. Kroll, and Shlomo Touboul U.S. Patent No. 8,677,494 (“the ‘494 Patent”),

titled MALICIOUS MOBILE CODE RUNTIME MONITORING SYSTEM AND METHODS.

A true and correct copy of the ‘494 Patent is attached to this Complaint as Exhibit 7 and is

incorporated by reference herein.

       28.     All rights, title, and interest in the ‘494 Patent have been assigned to Finjan, who

is the sole owner of the ‘494 Patent. Finjan has been the sole owner of the ‘494 Patent since its

issuance.

       29.     The ‘494 Patent is generally directed towards a method and system for deriving

security profiles and storing the security profiles. One of the ways this is accomplished is by

deriving a security profile for a downloadable, which includes a list of suspicious computer

operations, and storing the security profile in a database. The ‘494 Patent discloses and




                                                 7
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 8 of 72 PageID #: 8



specifically claims inventive concepts that represent significant improvements over conventional

network security technology that was available at the time of filing of the ‘494 Patent and are

more than just generic software components performing conventional activities.


              FINJAN’S NOTICE OF INFRINGEMENT TO DEFENDANTS

       30.     Defendants are well aware of Finjan’s patents, including the Asserted Patents, and

have continued their infringing activity, despite this knowledge, for years. Finjan gave written

notice to Defendants of their infringement of Finjan’s patents by letter dated March 23, 2016,

which specifically identified Finjan’s ‘305, ‘086, and ‘494 Patents. This letter also identified

many of Defendants’ infringing products, including that Defendants’ Nexpose products infringed

Finjan’s ‘086 and ‘494 Patents. Finjan also included an exemplary infringement claim chart with

its March 23, 2016 letter showing how Defendants’ AppSpider product infringes Finjan’s ‘305

Patent. The AppSpider product works with and contributes to many of Defendants’ other

accused products, including InsightAppSec.

       31.     Finjan met in person with Defendants on or about May 11, 2016. During this

meeting Finjan explained how Defendants’ products infringe Finjan’s Patents, including how

Defendants’ Nexpose products infringe Finjan’s ‘086 and ‘494 Patents and how the AppSpider

product infringes the ‘305 Patent.

       32.     From on or about May 11, 2016, through on or about January 4, 2018, Finjan

attempted to engage in good faith negotiations with Defendants regarding their ongoing

infringement of Finjan’s patent portfolio. For example, Finjan contacted Defendants on or about

May 24, 2016, to follow up on the parties’ initial meeting. Finjan also informed Defendants on

or about May 24, 2016, that a third-party competitor of Defendants had recently taken a license

to Finjan’s Patents, including the Asserted Patents here. Finjan contacted Defendants again on or



                                                 8
   Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 9 of 72 PageID #: 9



about August 1, 2016, and multiple times in or around September 2016. But Defendants largely

ignored Finjan’s repeated requests to engage in good faith licensing discussions.

       33.     On or about January 4, 2018, Finjan sent another letter to Defendants that

expressly reminded Defendants that their Nexpose products infringed the ‘494 Patent, and that

their AppSpider product continued to infringe the ‘305 Patent.

       34.     Finjan gave Defendants a PowerPoint presentation on or about February 8, 2018,

during which Finjan described to Defendants how their Nexpose, Metasploit, InsightVM,

InsightAppSec, and AppSpider products variously infringed Finjan’s patents, including at least

Finjan’s ‘494, ‘305, ‘408, ‘289, ‘154, ‘918, and ‘086 Patents. An excerpt from Finjan’s

PowerPoint presentation to Defendants is copied below, and is just one image out of the dozens

of pages in the February 8, 2018 PowerPoint presentation:




                                                9
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 10 of 72 PageID #: 10



       35.        Finjan’s PowerPoint presentation to Defendants on or about February 8, 2018 also

identified every patent Finjan owns by number, including their approximate expiration dates.

       36.        Following up on its PowerPoint presentation, on or about February 12, 2018,

Finjan emailed representative claim charts to Defendants showing how Defendants’ Nexpose

products infringed Finjan’s ‘494 Patent (and another Finjan Patent, U.S. 6,154,844).

       37.        Thus, despite Finjan’s best efforts to inform Defendants that their products

infringe Finjan’s patents and to engage Defendants in good-faith licensing discussions,

Defendants refused to take a license to Finjan’s patents. As shown above, Defendants knew that

they infringed the Asserted Patents well before Finjan filed this action, and Defendants acted

egregiously and willfully in that they continued to infringe Finjan’s patents and, on information

and belief, took no action to avoid infringement. Instead, Defendants continued to develop

additional technologies and products that infringe the Asserted Patents. As such, Defendants

have continued to willfully, wantonly, and deliberately engage in acts of infringement of the

Finjan Patents.


             DEFENDANTS’ INFRINGING PRODUCTS AND TECHNOLOGIES

       38.        Defendants are closely related companies that operate as a single business entity

directed and controlled by Rapid7, Inc., making, using, selling, offering for sale, and importing

into the United States and this District infringing products and services that utilize InsightIDR,

InsightVM (Nexpose), InsightAppSec, AppSpider, Metasploit and Komand technologies,

including Rapid7 Insight Platform products (collectively, the “Accused Products”).

       39.        Defendants represent themselves to be one entity with respect to the Accused

Products in their annual reports submitted to the United States Securities and Exchange

Commission (Form 10-K). See, Ex. 8 (Rapid7 2017 Annual Report) at 2-8.



                                                   10
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 11 of 72 PageID #: 11



       40.     Both Rapid7, Inc. and Rapid7 LLC share the same principal place of business and

many of the same corporate executives and directors.

       41.     Defendants’ products are all interrelated through the Rapid7 Insight Platform.

The Rapid7 Insight Platform integrates Defendants’ detection and analytic technologies across

various product offerings, briefly described below.




Ex. 9 (rapid7-product-brochure.pdf).




                                               11
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 12 of 72 PageID #: 12




Ex. 10 (Rapid7 Insight Platform Security) at 3.

                                          InsightIDR

       42.     InsightIDR receives data from a network’s endpoints, cloud and virtual services,

and utilizes a combination of scanning technology, machine learning, live threat feeds, and a

library of behavioral threat analytics in order to scan and monitor network events for both new

and existing threats. InsightIDR is commonly deployed along with Rapid7’s InsightVM.




                                                  12
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 13 of 72 PageID #: 13




Ex. 11 (https://insightidr.help.rapid7.com/docs).

                                      InsightVM (Nexpose)

       43.     InsightVM (Nexpose) receives data from a network’s endpoints, cloud and virtual

services, and utilizes a combination of scanning technology, live threat feeds, and a library of

threat analytics in order to scan and monitor the network for both new and existing

vulnerabilities. InsightVM uses RealRisk to assign a risk score to each detected threat.




                                                13
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 14 of 72 PageID #: 14




Exs. 12, 46.

                                 InsightAppSec and AppSpider

       44.     InsightAppSec crawls and assesses web applications to detect SQL Injection,

XSS, and CSRF threats. InsightAppSec normalizes network traffic and uses scan engines (cloud

or on-premise) to detect threats, which includes scans for over 90 different known attack types.

InsightAppSec works alongside AppSpider to detect and generate a summary of vulnerabilities,

which Defendants’ other Accused Products also use.




Ex. 13 (https://blog.rapid7.com/2018/06/14/new-insightappsec-releases-compliance-reports-and-
the-appsec-toolkit/).


                                            Metasploit

       45.     Metasploit is a penetration testing software that utilizes a database of exploits.

Metasploit allows simulation of real-world attacks on the network so that further cybersecurity

measures can be implemented.




                                                 14
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 15 of 72 PageID #: 15




Ex. 14 (https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose).

                                              Komand

       46.     Komand connects existing cybersecurity tools to a library of plugins in order to

integrate, orchestrate and automate workflows in order to efficiently detect and contain malicious

malware, domains, and other threat indicators.

         DEFENDANTS’ WILLFUL INFRINGEMENT OF FINJAN’S PATENTS

       47.     Defendants have been and are infringing, and continue to infringe, the ‘305, ‘408,

‘289, ‘918, ‘086, ‘154, ‘494 Patents (collectively, the “Asserted Patents”) in this Judicial District

and elsewhere in the United States by, among other things, making, using, importing, selling, and

offering for sale the Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “Accused Products”).

       48.     In addition to directly infringing the Asserted Patents under 35 U.S.C. § 271(a),

either literally or under the doctrine of equivalents, or both, Defendants indirectly infringe the

‘305, ‘408, ‘289, ‘918, ‘086 and ‘494 Patents by instructing, directing, and requiring others,

including their customers, purchasers, users, and developers, to perform all or some of the steps

of the method claims, either literally or under the doctrine of equivalents, or both, of the ‘305,

‘408, ‘289, ‘918, ‘086 and ‘494 Patents.




                                                 15
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 16 of 72 PageID #: 16



                                            COUNT I
             (Direct Infringement of the ‘494 Patent pursuant to 35 U.S.C. § 271(a))
       49.      Finjan repeats, realleges, and incorporates by reference, as if fully set forth herein,

the allegations of the preceding paragraphs, as set forth above.

       50.      Defendants infringed Claims 3-5, and 7-18 of the ‘494 Patent in violation of 35

U.S.C. § 271(a).

       51.      Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.

       52.      Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services were without the permission, consent, authorization, or license

of Finjan.

       53.      Defendants’ infringement included, the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “’494 Accused Products”).

       54.      The ‘494 Accused Products practice the patented invention of the ‘494 Patent and

infringed the ‘494 Patent because they make or use the system and perform the steps of deriving

security profiles and storing the security profiles by, for example, deriving a security profile for a

downloadable, which includes a list of suspicious computer operations, and storing the security

profile in a database.

       55.      To the extent the ‘494 Accused Products used a system that includes modules,

components or software owned by third parties, the ‘494 Accused Products still infringed the

‘494 Patent because Defendants are vicariously liable for the use of the patented system by

controlling the entire system and deriving a benefit from the use of every element of the entire



                                                  16
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 17 of 72 PageID #: 17



system. Similarly, to the extent Defendants’ customers perform a step or steps of the patented

method or the ‘494 Accused Products incorporate third parties’ modules, components or

software that perform one or more patented steps, Defendants’ ‘494 Accused Products still

infringed the ‘494 Patent because the ‘494 Accused Products condition receipt by the third

parties of a benefit upon performance of a step or steps of the patented method and establish the

manner or timing of that performance.

       56.     For example, as shown below, the ‘494 Accused Products are computer-based

systems that manage Downloadables with a receiver for receiving an incoming Downloadables

(e.g., web applications and files) from network devices and scan and detect threats in the

received Downloadables:




Ex. 10 (Rapid7 Insight Platform Security) at 3.

       57.     The Insight Agent and InsightIDR are receivers that receive incoming

Downloadables from an endpoint.




                                                  17
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 18 of 72 PageID #: 18




https://www.rapid7.com/products/insightidr/features/endpoint-detection-and-visibility/

       58.     The ‘494 Accused Products receive Downloadables in order to detect various

threats and suspicious activity from received Downloadables across the network.




https://insightidr.help.rapid7.com/docs/threats




https://insightidr.help.rapid7.com/docs/alerts




                                                  18
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 19 of 72 PageID #: 19



       59.     The ‘494 Accused Products include various Downloadable scanners - Scan

Engines - coupled to receivers (e.g., Nexpose, Insight Platform components, Insight Agents) that

receive incoming Downloadables (e.g., web applications and files) from network devices and use

various Scan Engines to scan them and detect threats and vulnerabilities to derive security profile

data for the Downloadables.




Ex. 15 (Nexpose API 1.1 and 1.2 Guide (v. 6.0)) at 14.

       60.     The Downloadable scanners derive security profile data for the received

Downloadables and compute it into risk scores for the Downloadables.




                                                19
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 20 of 72 PageID #: 20




Ex. 16__ (https://www.rapid7.com/products/nexpose/features/).

       61.    To derive the security data profile for the Downloadables, the Downloadable

scanners utilize a library of suspicious operations that may be attempted by the Downloadables.




                                               20
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 21 of 72 PageID #: 21




Ex. 17 (https://insightidr.help.rapid7.com/docs/new-features).




Ex. 18 (https://www.rapid7.com/solutions/attacker-behavior-analytics/)

       62.     Once vulnerabilities and threats are detected in Downloadables by Scan Engines,

they are added to the Rapid7 database by the coupled database manager.




                                               21
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 22 of 72 PageID #: 22




Ex. 19 (https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities).

       63.     Database managers coupled with the Downloadable scanners store the

Downloadable security profiles in a database, which can be accessed at a later time.




Ex. 20 (https://insightvm.help.rapid7.com/docs/welcome-to-help).

       64.     Defendants’ infringement of the ‘494 Patent injured Finjan in an amount to be

proven at trial, but not less than a reasonable royalty.

       65.     Defendants have been long-aware of Finjan’s patents, including the ‘494 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,

Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for

over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘494 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants

continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.




                                                  22
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 23 of 72 PageID #: 23



       66.     Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused

Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘494

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.


                                         COUNT II
          (Indirect Infringement of the ‘494 Patent pursuant to 35 U.S.C. § 271(b))

       67.     Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       68.     In addition to directly infringing the ‘494 Patent, Defendants knew or were

willfully blind to the fact that they were inducing infringement of at least Claims 3-5 and 7-9 of

the ‘494 Patent under 35 U.S.C. § 271(b) by instructing, directing and requiring their customers

to perform the steps of the method claims of the ‘494 Patent, either literally or under the

doctrine of equivalents.

       69.     Additionally, Defendants knew or were willfully blind to the fact that they were

inducing infringement of at least Claims 3-5 and 7-9 of the ‘494 Patent under 35 U.S.C.

§ 271(b) by instructing, directing and requiring their customers to perform the steps of the

method claims of the ‘494 Patent, either literally or under the doctrine of equivalents.

       70.     To the extent one Defendant is deemed to direct and control the other Defendant

to directly infringe the ‘494 Patent, the former Defendant is liable for inducing the latter

Defendant to directly infringe the ‘494 Patent.

       71.     Defendants knowingly and actively aided and abetted the direct infringement of

the ‘494 Patent by instructing and encouraging their customers and developers to use the ‘494


                                                  23
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 24 of 72 PageID #: 24



Accused Products. Such instructions and encouragement included advising third parties to use

the ‘494 Accused Products in an infringing manner, providing a mechanism through which

third parties may infringe the ‘494 Patent, by advertising and promoting the use of the ‘494

Accused Products in an infringing manner, and by distributing guidelines and instructions to

third parties on how to use the ‘494 Accused Products in an infringing manner. See, e.g., Ex. 15

(Nexpose API 1.1 and 1.2 Guide (v. 6.0)); Ex. 15

(https://www.rapid7.com/docs/download/Nexpose_API_guide.pdf); Ex. 19

(https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities); Ex. 21

(https://insightidr.help.rapid7.com/docs/threats); Ex. 14

(https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose); Ex. 18

(https://www.rapid7.com/solutions/attacker-behavior-analytics/); Ex. 22

(https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-engines);

Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).


                                            COUNT III
              (Direct Infringement of the ‘305 Patent pursuant to 35 U.S.C. § 271(a))
        72.      Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

        73.      Defendants have infringed and continue to infringe Claims 1-25 of the ‘305

Patent in violation of 35 U.S.C. § 271(a).

        74.      Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.




                                                   24
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 25 of 72 PageID #: 25



       75.     Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services have been without the permission, consent, authorization or

license of Finjan.

       76.     Defendants’ infringement includes the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “305 Accused Products”).

       77.     The ‘305 Accused Products embody the patented invention of the ‘305 Patent

and infringe the ‘305 Patent because they make or use the patented system or perform the

patented method of rule-based scanning of web-based content for exploits by, for example,

using parser and analyzer rules to describe computer exploits as patterns of types of tokens.

       78.     To the extent the ‘305 Accused Products used a system that includes modules,

components or software owned by third parties, the ‘305 Accused Products still infringed the

‘305 Patent because Defendants are vicariously liable for the use of the patented system by

controlling the entire system and deriving a benefit from the use of every element of the entire

system. Similarly, to the extent Defendants’ customers performed a step or steps of the

patented method or the ‘305 Accused Products incorporate third parties’ modules, components

or software that performed one or more patented steps, Defendants’ ‘305 Accused Products still

infringed the ‘305 Patent because the ‘305 Accused Products condition receipt by the third

parties of a benefit upon performance of a step or steps of the patented method and establish the

manner or timing of that performance.




                                                25
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 26 of 72 PageID #: 26



        79.   For example, as shown below, the ‘305 Accused Products provide a platform,

including Scan Engines, which operates on a computer to scan content to prevent malicious

code and threats from accessing the client computer.




Ex. 24 (InsightIDR:From Compromise to Containment. Fast) at 1.




Id. at 2.

        80.   The content includes suspicious web page content containing HTML, PDFs,

JavaScript, drive-by downloads, obfuscated code, or other blended web malware.




Ex. 25 (https://www.rapid7.com/products/insightidr/use-cases/identify-evolving-attacker-

behavior/).




                                               26
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 27 of 72 PageID #: 27




Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).

        81.    As shown below, Rapid7 products include the InsightIDR Scan Engines which

make use of various methods, including identification and analysis of hashed files, to scan

content within a computer.




Ex. 26 (https://www.rapid7.com/explore/insightidr/endpoint-capabilities/index.php?step=8).

        82.    The ‘305 Accused Products utilize and integrate with existing gateways, firewalls

and routers to selectively divert incoming content, such as web pages or email for rule-based



                                               27
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 28 of 72 PageID #: 28



content scanning, thereby capturing suspicious traffic between external attackers and internal

targets, where such traffic are then analyzed by Rapid7 Cloud Products.




Ex. 11 (https://insightidr.help.rapid7.com/docs).

       83.     The ‘305 Accused Products monitor communications between web browsers and

remote servers to divert and block malicious incoming content.




Ex. 27 (https://www.rapid7.com/explore/insightidr/detect-lateral-movement/index.php?step=3).


                                                28
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 29 of 72 PageID #: 29




Ex. 11 (https://insightidr.help.rapid7.com/docs).




                                                29
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 30 of 72 PageID #: 30



       84.     Rapid7 Cloud Products performs deep analysis of code, using purser and

analyzer rules, extracting the patterns that are responsible for its behavior.




Ex. 22 (https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-

engines)

       85.     Defendants’ infringement of the ‘305 Patent has injured Finjan in an amount to

be proven at trial, but not less than a reasonable royalty. Additionally, as a result of

Defendants’ unlawful activities, Finjan has suffered and will continue to suffer irreparable harm

for which there is no adequate remedy at law. Finjan and Defendants compete in the security

software space, and Finjan is actively engaged in licensing its patent portfolio, as described

above. Defendants’ continued infringement of the ‘305 Patent causes harm to Finjan in the

form of price erosion, loss of goodwill, damage to reputation, loss of business opportunities,

inadequacy of money damages, and direct and indirect competition. Monetary damages are

insufficient to compensate Finjan for these harms, and thus Finjan is entitled to preliminary

and/or permanent injunctive relief.

       86.     Defendants have been long-aware of Finjan’s patents, including the ‘305 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,




                                                  30
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 31 of 72 PageID #: 31



Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for

over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘305 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants

continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.

       87.        Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused

Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘305

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.


                                         COUNT IV
          (Indirect Infringement of the ‘305 Patent pursuant to 35 U.S.C. § 271(b))
       88.        Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       89.        In addition to directly infringing the ‘305 Patent, Defendants knew or were

willfully blind to the fact that they were inducing infringement of at least Claims 13-24 of the

‘305 Patent under 35 U.S.C. § 271(b) by instructing, directing and requiring their customers to

perform the steps of the method claims of the ‘305 Patent, either literally or under the doctrine

of equivalents.

       90.        Additionally, Defendants knew or were willfully blind to the fact that they were

inducing infringement of at least Claims 13-24 of the ‘305 Patent under 35 U.S.C. § 271(b) by


                                                    31
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 32 of 72 PageID #: 32



instructing, directing and requiring their developers to perform the steps of the method claims

of the ‘305 Patent, either literally or under the doctrine of equivalents.

        91.      To the extent one Defendant is deemed to direct and controlling the other

Defendant to directly infringe the ‘305 Patent, the former Defendant is liable for inducing the

latter Defendant to directly infringe the ‘305 Patent.

        92.    Defendants knowingly and actively aided and abetted the direct infringement of

the ‘305 Patent by instructing and encouraging their customers, purchasers, users, and

developers to use the ‘305 Accused Products. Such instructions and encouragement included

advising third parties to use the ‘305 Accused Products in an infringing manner, providing a

mechanism through which third parties may infringe the ‘305 Patent, by advertising and

promoting the use of the ‘305 Accused Products in an infringing manner, and distributing

guidelines and instructions to third parties on how to use the ‘305 Accused Products in an

infringing manner.

        93.    See, e.g., Ex. 15 (Nexpose API 1.1 and 1.2 Guide (v. 6.0)); Ex. 15

(https://www.rapid7.com/docs/download/Nexpose_API_guide.pdf); Ex. 19

(https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities); Ex. 21

(https://insightidr.help.rapid7.com/docs/threats); Ex. 14

(https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose); Ex. 18

(https://www.rapid7.com/solutions/attacker-behavior-analytics/); Ex. 22

(https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-engines);

Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).




                                                  32
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 33 of 72 PageID #: 33



                                            COUNT V
              (Direct Infringement of the ‘408 Patent pursuant to 35 U.S.C. § 271(a))

        94.      Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

        95.      Defendants have infringed and continue to infringe Claims 1-35 of the ‘408

Patent in violation of 35 U.S.C. § 271(a).

        96.      Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.

        97.      Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services have been without the permission, consent, authorization or

license of Finjan.

        98.      Defendants’ infringement includes the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “408 Accused Products”).

        99.      The ‘408 Accused Products embody the patented invention of the ‘408 Patent and

infringe the ‘408 Patent because they make or use the patented system or perform the patented

method of rule-based scanning of web-based content for exploits written in different

programming languages, by, for example, expressing the exploits as patterns of tokens or using a

parse tree.

        100.     To the extent the ‘408 Accused Products used a system that includes modules,

components or software owned by third parties, the ‘408 Accused Products still infringed the

‘408 Patent because Defendants are vicariously liable for the use of the patented system by

controlling the entire system and deriving a benefit from the use of every element of the entire



                                                   33
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 34 of 72 PageID #: 34



system. Similarly, to the extent Defendants’ customers performed a step or steps of the patented

method or the ‘408 Accused Products incorporated third parties’ modules, components or

software that performed one or more patented steps, Defendants’ ‘408 Accused Products still

infringed the ‘408 Patent because the ‘408 Accused Products condition receipt by the third

parties of a benefit upon performance of a step or steps of the patented method and establish the

manner or timing of that performance.

       101.    For example, the ‘408 Accused Products provide a platform, including Scan

Engines, which operates on a computer to scan content to prevent malicious code and threats

from accessing the client computer.




Ex. 24 (InsightIDR:From Compromise to Containment. Fast) at 1.




Ex. 24 (InsightIDR:From Compromise to Containment. Fast) at 2.

       102.    The ‘408 Accused Products performs deep analysis of code, using purser and

analyzer rules, extracting the patterns that are responsible for its behavior.




                                                  34
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 35 of 72 PageID #: 35




Ex. 22 (https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-

engines).

        103.    Defendants’ infringement of the ‘408 Patent has injured Finjan in an amount to be

proven at trial, but not less than a reasonable royalty. Additionally, as a result of Defendants’

unlawful activities, Finjan has suffered and will continue to suffer irreparable harm for which

there is no adequate remedy at law. Finjan and Defendants compete in the security software

space, and Finjan is actively engaged in licensing its patent portfolio, as described above.

Defendants’ continued infringement of the ‘408 Patent causes harm to Finjan in the form of price

erosion, loss of goodwill, damage to reputation, loss of business opportunities, inadequacy of

money damages, and direct and indirect competition. Monetary damages are insufficient to

compensate Finjan for these harms, and thus Finjan is entitled to preliminary and/or permanent

injunctive relief.

        104.    Defendants have been long-aware of Finjan’s patents, including the ‘408 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,

Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for

over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘408 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants



                                                 35
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 36 of 72 PageID #: 36



continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.

       105.       Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused

Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘408

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.


                                         COUNT VI
          (Indirect Infringement of the ‘408 Patent pursuant to 35 U.S.C. § 271(b))

       106.       Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       107.       In addition to directly infringing the ‘408 Patent, Defendants knew or were

willfully blind to the fact that they were inducing infringement of at least Claims 1-8, 23-28 of

the ‘408 Patent under 35 U.S.C. § 271(b) by instructing, directing and requiring their customers

to perform the steps of the method claims of the ‘408 Patent, either literally or under the doctrine

of equivalents.

       108.       Additionally, Defendants knew or were willfully blind to the fact that they were

inducing infringement of at least Claims 1-8, 23-28 of the ‘408 Patent under 35 U.S.C. § 271(b)

by instructing, directing and requiring their developers to perform the steps of the method claims

of the ‘408 Patent, either literally or under the doctrine of equivalents.




                                                    36
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 37 of 72 PageID #: 37



        109.    To the extent one Defendant is deemed to direct and control the other Defendant

to directly infringe the ‘408 Patent, the former Defendant is liable for inducing the latter

Defendant to directly infringe the ‘408 Patent.

        110.    Defendants knowingly and actively aided and abetted the direct infringement of

the ‘408 Patent by instructing and encouraging their customers and developers to use the ‘408

Accused Products. Such instructions and encouragement included advising third parties to use

the ‘408 Accused Products in an infringing manner, providing a mechanism through which

third parties may infringe the ‘408 Patent, and by advertising and promoting the use of the ‘408

Accused Products in an infringing manner, and distributing guidelines and instructions to third

parties on how to use the ‘408 Accused Products in an infringing manner. See, e.g., Ex. 15

(Nexpose API 1.1 and 1.2 Guide (v. 6.0)); Ex. 15

(https://www.rapid7.com/docs/download/Nexpose_API_guide.pdf); Ex. 19

(https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities); Ex. 21

(https://insightidr.help.rapid7.com/docs/threats); Ex. 14

(https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose); Ex. 18

(https://www.rapid7.com/solutions/attacker-behavior-analytics/); Ex. 22

(https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-engines);

Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).


                                          COUNT VII
             (Direct Infringement of the ‘289 Patent pursuant to 35 U.S.C. § 271(a))

        111.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.




                                                  37
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 38 of 72 PageID #: 38



       112.    Defendants have infringed and continue to infringe Claims 1-46 of the ‘289

Patent in violation of 35 U.S.C. § 271(a).

       113.    Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.

       114.    Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services have been without the permission, consent, authorization or

license of Finjan.

       115.    Defendants’ infringement includes the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “’289 Accused Products”).

       116.    The ‘289 Accused Products embody the patented invention of the ‘289 Patent and

infringe the ‘289 Patent because they make or use the patented system or perform the patented

method for inspecting dynamically generated executable code by receiving content with an

original function and replacing the original call function with a substitute call function, and then

determining whether it is safe to invoke the original call function.

       117.    To the extent the ‘289 Accused Products used a system that includes modules,

components or software owned by third parties, the ‘289 Accused Products still infringed the

‘289 Patent because Defendants are vicariously liable for the use of the patented system by

controlling the entire system and deriving a benefit from the use of every element of the entire

system. Similarly, to the extent Defendants’ customers performed a step or steps of the patented

method or the ‘289 Accused Products incorporated third parties’ modules, components or

software that performed one or more patented steps, Defendants’ ‘289 Accused Products still




                                                 38
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 39 of 72 PageID #: 39



infringed the ‘289 Patent because the ‘289 Accused Products condition receipt by the third

parties of a benefit upon performance of a step or steps of the patented method and establish the

manner or timing of that performance.

       118.    For example, “Rapid7 InsightIDR leverages both User and Attacker Behavior

Analytics to detect intruder activity … hunts all of the top attack vectors behind breaches: the use

of stolen credentials, malware, and phishing, and alerts on stealthy intruder behavior as early as

possible in the attack chain.” Ex. 24 (InsightIDR: From Compromise to Containment. Fast) at 1.

And Attacker Behavior Analytics cover various forms of attacks as shown below:




Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/). This Attacker Behavior Analytics (ABA) “reveal[s] unknown variants of successful

attacker techniques, and are continually crafted by Rapid7’s global security analysts and threat

intelligence teams.” Ex. 28 (https://www.rapid7.com/about/press-releases/attacker-behavior-

analytics-brings-together-machine-learning-and-human-security-expertise/). “With the addition

of ABA, all InsightIDR customers will automatically receive high-fidelity alerts on evolving

attacker behaviors built from thousands of incident investigations, including the use of file-less

malware, crypto-jacking, and spear phishing. When these malicious techniques are identified,




                                                39
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 40 of 72 PageID #: 40



alerts highlight notable behavior from the affected user and asset, making it significantly easier

for security teams to respond quickly and with confidence.” Id.




Ex. 29 (https://blog.rapid7.com/2018/08/29/endpoint-agents-are-necessary-for-todays-modern-

environment-heres-why-part-2/.)

       119.    The ‘289 Accused Products collect and receive content at a gateway (e.g., web

proxy and VPN/firewalls at the edge of the network to connect to outside networks) for

processing.




Ex. 11 (https://insightidr.help.rapid7.com/docs).

       120.    The content received at the gateway includes a call to a function with an input

such as a function to open a web page and URL address. The ‘289 Accused Products protect

against such malware.




                                                40
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 41 of 72 PageID #: 41




Ex. 30 (https://www.rapid7.com/fundamentals/types-of-attacks/).

       121.    In some instances, a first function with the input is used to conceal an intent to

call a second function with the input. Some examples of calls for invoking a second function

with the input include: “the downloader will initiate a connection to a command and control

domain to download additional files,” “accessing device configuration data, downloading

additional files, executing commands, modifying the registry, capturing screen shots, and

exfiltrating data,” “downloading and installing malware, installing proxy and remote access

trojans (RATs), connect to command control (C&C) servers to receive instructions, and alter the

victim’s firewall to allow incoming connections,” and spreading ransomware “via phishing

emails or malicious links.”




                                                41
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 42 of 72 PageID #: 42




Ex. 31 (https://www.rapid7.com/solutions/attacker-behavior-analytics/).

       122.    The Accused ‘289 Products modify the received content where operation of the

function causes the modified content (and input) to be inspected in a sandbox or other virtualized

environment for behavioral analysis.




Ex. 10 (Rapid7 Insight Platform Security) at 4.




                                                  42
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 43 of 72 PageID #: 43




Ex. 32 (https://blog.rapid7.com/2018/07/03/behind-the-scenes-attacker-behavior-analytics-with-

mdr-team/).




       123.    https://www.rapid7.com/products/insightidr/use-cases/identify-evolving-attacker-

behavior/

       124.    The ‘289 Accused Products also provide methods for using plug-in and API

triggers for modifying the content at the gateway computer, comprising replacing the call to the



                                               43
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 44 of 72 PageID #: 44



original function with a corresponding call to a substitute function that sends the input to a

security computer for inspection.




Ex. 33 (https://docs.komand.com/docs/triggers).




Ex. 34 (https://docs.komand.com/docs/popular-plugins).




                                                 44
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 45 of 72 PageID #: 45




Ex. 35 (https://docs.komand.com/docs/creating-api-triggers).

        125.    Defendants’ infringement of the ‘289 Patent has injured Finjan in an amount to be

proven at trial, but not less than a reasonable royalty. Additionally, as a result of Defendants’

unlawful activities, Finjan has suffered and will continue to suffer irreparable harm for which

there is no adequate remedy at law. Finjan and Defendants compete in the security software

space, and Finjan is actively engaged in licensing its patent portfolio, as described above.

Defendants’ continued infringement of the ‘289 Patent causes harm to Finjan in the form of price

erosion, loss of goodwill, damage to reputation, loss of business opportunities, inadequacy of

money damages, and direct and indirect competition. Monetary damages are insufficient to

compensate Finjan for these harms, and thus Finjan is entitled to preliminary and/or permanent

injunctive relief.

        126.    Defendants have been long-aware of Finjan’s patents, including the ‘289 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,

Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for


                                                 45
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 46 of 72 PageID #: 46



over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘289 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants

continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.

       127.    Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused

Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘289

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.

                                        COUNT VIII
          (Indirect Infringement of the ‘289 Patent pursuant to 35 U.S.C. § 271(b))

       128.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       129.    In addition to directly infringing the ‘289 Patent, Defendants knew or were

willfully blind to the fact that they were inducing infringement of at least Claims 1-9, 19-21, 25-

29, 35-40 of the ‘289 Patent under 35 U.S.C. § 271(b) by instructing, directing and requiring

their customers to perform the steps of the method claims of the ‘289 Patent, either literally or

under the doctrine of equivalents.

       130.    Additionally, Defendants knew or were willfully blind to the fact that they were

inducing infringement of at least Claims 1-9, 19-21, 25-29, 35-40 of the ‘289 Patent under 35




                                                 46
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 47 of 72 PageID #: 47



U.S.C. § 271(b) by instructing, directing and requiring their developers to perform the steps of

the method claims of the ‘289 Patent, either literally or under the doctrine of equivalents.

        131.   To the extent one Defendant is deemed to direct and control the other Defendant

to directly infringe the ‘289 Patent, the former Defendant is liable for inducing the latter

Defendant to directly infringe the ‘289 Patent.

        132.   Defendants knowingly and actively aided and abetted the direct infringement of

the ‘289 Patent by instructing and encouraging their customers and developers to use the ‘289

Accused Products. Such instructions and encouragement included advising third parties to use

the ‘289 Accused Products in an infringing manner, providing a mechanism through which

third parties may infringe the ‘289 Patent, and by advertising and promoting the use of the ‘289

Accused Products in an infringing manner, and distributing guidelines and instructions to third

parties on how to use the ‘289 Accused Products in an infringing manner. See, e.g., Ex. 15

(Nexpose API 1.1 and 1.2 Guide (v. 6.0)); Ex. 15

(https://www.rapid7.com/docs/download/Nexpose_API_guide.pdf); Ex. 19

(https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities); Ex. 21

(https://insightidr.help.rapid7.com/docs/threats); Ex. 14

(https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose); Ex. 18

(https://www.rapid7.com/solutions/attacker-behavior-analytics/); Ex. 22

(https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-engines);

Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).




                                                  47
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 48 of 72 PageID #: 48



                                         COUNT IX
           (Direct Infringement of the ‘154 Patent pursuant to 35 U.S.C. § 271(a))

       133.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       134.    Defendants have infringed and continue to infringe Claims 1-12 of the ‘154

Patent in violation of 35 U.S.C. § 271(a).

       135.    Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.

       136.    Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services have been without the permission, consent, authorization or

license of Finjan.

       137.    Defendants’ infringement includes the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “’154 Accused Products”).

       138.    The ‘154 Accused Products embody the patented invention of the ‘154 Patent and

infringe the ‘154 Patent because they make or use the patented system for protecting a computer

from dynamically generated malicious content by, for example, using a content processor to

process a first function and invoke a second function if a security computer indicates that it is

safe to invoke the second function.

       139.    To the extent the ‘154 Accused Products use a system that includes modules,

components or software owned by third parties, the ‘154 Accused Products still infringe the ‘154

Patent because Defendants are vicariously liable for the use of the patented system by controlling

the entire system and deriving a benefit from the use of every element of the entire system.



                                                 48
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 49 of 72 PageID #: 49



Similarly, to the extent Defendants’ customers perform a step or steps of the patented method or

the ‘154 Accused Products incorporate third parties’ modules, components or software that

perform one or more patented steps, Defendants’ ‘154 Accused Products still infringed the ‘154

Patent because the ‘154 Accused Products condition receipt by the third parties of a benefit upon

performance of a step or steps of the patented method and establish the manner or timing of that

performance.

       140.    For example, as shown below, the ‘154 Accused Products use a security computer

utilizing various scanning and detection technologies to determine if invoking the second

function with the input is safe. The content processor will only invoke the second function with

the input if the security computer indicates that such invocation is safe.




Ex. 11 (https://insightidr.help.rapid7.com/docs/welcome-to-insightidr).

       141.    The ‘154 Accused Products use transmitters (e.g., “The Collector” and “Insight

Agent”) for transmitting the input to the security computer for inspection, when the first function

is invoked.


                                                 49
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 50 of 72 PageID #: 50




Ex. 36 (https://insightidr.help.rapid7.com/docs/collection-methods).

       142.    The security computer indicates to the receiver whether it is safe to invoke the

second function with the input.




                                                50
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 51 of 72 PageID #: 51




Ex. 17 (https://insightidr.help.rapid7.com/docs/new-features).




Ex. 37 (https://insightidr.help.rapid7.com/docs/alerts).




Id.




Ex. 9 (rapid7-product-brochure.pdf) at 13.




                                                 51
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 52 of 72 PageID #: 52




Ex. 38 (https://www.rapid7.com/solutions/incident-detection-and-response/).

        143.    Defendants’ infringement of the ‘154 Patent has injured Finjan in an amount to be

proven at trial, but not less than a reasonable royalty. Additionally, as a result of Defendants’

unlawful activities, Finjan has suffered and will continue to suffer irreparable harm for which

there is no adequate remedy at law. Finjan and Defendants compete in the security software

space, and Finjan is actively engaged in licensing its patent portfolio, as described above.

Defendants’ continued infringement of the ‘154 Patent causes harm to Finjan in the form of price

erosion, loss of goodwill, damage to reputation, loss of business opportunities, inadequacy of

money damages, and direct and indirect competition. Monetary damages are insufficient to

compensate Finjan for these harms, and thus Finjan is entitled to preliminary and/or permanent

injunctive relief.

        144.    Defendants have been long-aware of Finjan’s patents, including the ‘154 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,

Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for

over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘154 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants

continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.

        145.    Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused


                                                 52
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 53 of 72 PageID #: 53



Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘408

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.


                                           COUNT X
             (Direct Infringement of the ‘918 Patent pursuant to 35 U.S.C. § 271(a))

       146.     Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       147.     Defendants infringed Claims 1-36 of the ‘918 Patent in violation of 35 U.S.C.

§ 271(a).

       148.     Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.

       149.     Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services were without the permission, consent, authorization or license

of Finjan.

       150.     Defendants’ infringement included the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “918 Accused Products”).

       151.     The ‘918 Accused Products embody the patented invention of the ‘918 Patent and

infringed the ‘918 Patent because they make or use the patented system or perform the patented

method for enforcing a security context on a downloadable by, for example, making use of

security contexts that are associated within certain user/group computer accounts when deriving

a profile for code received from the Internet.


                                                  53
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 54 of 72 PageID #: 54



       152.    To the extent the ‘918 Accused Products used a system that includes modules,

components or software owned by third parties, the ‘918 Accused Products still infringed the

‘918 Patent because Defendants are vicariously liable for the use of the patented system by

controlling the entire system and deriving a benefit from the use of every element of the entire

system. Similarly, to the extent Defendants’ customers performed a step or steps of the patented

method or the ‘918 Accused Products incorporated third parties’ modules, components or

software that performed one or more patented steps, Defendants’ ‘918 Accused Products still

infringed the ‘918 Patent because the ‘918 Accused Products condition receipt by the third

parties of a benefit upon performance of a step or steps of the patented method and established

the manner or timing of that performance.

       153.    For example, the ‘918 Accused Products are computer-based platforms that

include the Rapid7 Scanning Engines which control the function and operation of various

computers and servers to provide security and analyze content that may contain potentially

malicious content.




Ex. 10 (Rapid7 Insight Platform Security) at 3.




                                                  54
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 55 of 72 PageID #: 55



       154.    Rapid7 Cloud Products provides the ability to manage and oversee client

computers and user accounts in real time.




Ex. 39 (https://insightops.help.rapid7.com/docs/insightops-insightplatform).




Ex. 40 (https://insightops.help.rapid7.com/docs/).

       155.    The ‘918 Accused Products may block content from being processed and alert an

appropriate computer account (e.g., administrator account) which may then process the content

or approve an exception to a security policy:




                                                55
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 56 of 72 PageID #: 56




Ex. 41 (https://www.rapid7.com/explore/insightidr/detect-lateral-movement/index.php?step=3).




                                             56
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 57 of 72 PageID #: 57




Ex. 11 (https://insightidr.help.rapid7.com/docs); Ex. 42 (https://www.rapid7.com/docs/nexpose-

wcl-report09.pdf); Ex. 43 (https://www.rapid7.com/products/insightvm/integrations/); Ex. 44

(https://blog.rapid7.com/2013/11/05/nexpose-and-controlsinsight-better-together-2/).




                                              57
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 58 of 72 PageID #: 58




Ex. 45 (https://nexpose.help.rapid7.com/docs/working-with-vulnerability-exceptions).

       156.    Defendants’ infringement of the ‘918 Patent injured Finjan in an amount to be

proven at trial, but not less than a reasonable royalty.

       157.    Defendants have been long-aware of Finjan’s patents, including the ‘918 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,

Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for




                                                  58
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 59 of 72 PageID #: 59



over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘918 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants

continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.

       158.    Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused

Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘918

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.


                                         COUNT XI
          (Indirect Infringement of the ‘918 Patent pursuant to 35 U.S.C. § 271(b))

       159.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       160.    In addition to directly infringing the ‘918 Patent, Defendants knew or were

willfully blind to the fact that they were inducing infringement of at least Claims 1-11, 22-27, 34

of the ‘918 Patent under 35 U.S.C. § 271(b) by instructing, directing and requiring their

customers to perform the steps of the method claims of the ‘918 Patent, either literally or under

the doctrine of equivalents.

       161.    Additionally, Defendants knew or were willfully blind to the fact that they were

inducing infringement of at least Claims 1-11, 22-27, 34 of the ‘918 Patent under 35 U.S.C.




                                                 59
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 60 of 72 PageID #: 60



§ 271(b) by instructing, directing and requiring their developers to perform the steps of the

method claims of the ‘918 Patent, either literally or under the doctrine of equivalents.

        162.    To the extent one Defendant is deemed to direct and control the other Defendant

to directly infringe the ‘918 Patent, the former Defendant is liable for inducing the latter

Defendant to directly infringe the ‘918 Patent.

        163.   Defendants knowingly and actively aided and abetted the direct infringement of

the ‘918 Patent by instructing and encouraging their customers and developers to use the ‘918

Accused Products. Such instructions and encouragement included advising third parties to use

the ‘918 Accused Products in an infringing manner, providing a mechanism through which

third parties may infringe the ‘918 Patent, and by advertising and promoting the use of the ‘918

Accused Products in an infringing manner, and distributing guidelines and instructions to third

parties on how to use the ‘918 Accused Products in an infringing manner. See, e.g., Ex. 15

(Nexpose API 1.1 and 1.2 Guide (v. 6.0)); Ex. 15

(https://www.rapid7.com/docs/download/Nexpose_API_guide.pdf); Ex. 19

(https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities); Ex. 21

(https://insightidr.help.rapid7.com/docs/threats); Ex. 14

(https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose); Ex. 18

(https://www.rapid7.com/solutions/attacker-behavior-analytics/); Ex. 22

(https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-engines);

Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).




                                                  60
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 61 of 72 PageID #: 61



                                          COUNT XII
             (Direct Infringement of the ‘086 Patent pursuant to 35 U.S.C. § 271(a))

       164.     Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       165.     Defendants infringed Claims 1-42 of the ‘086 Patent in violation of 35 U.S.C.

§ 271(a).

       166.     Defendants’ infringement is based upon literal infringement or, in the

alternative, infringement under the doctrine of equivalents.

       167.     Defendants’ acts of making, using, importing, selling, and offering for sale

infringing products and services were without the permission, consent, authorization or license

of Finjan.

       168.     Defendants’ infringement included the manufacture, use, sale, importation and

offer for sale of Defendants’ products and services that utilize InsightIDR, InsightVM

(Nexpose), Metasploit and Komand technologies, including Rapid7 Insight Platform products

(collectively, the “’086 Accused Products”).

       169.     The ‘086 Accused Products embody the patented invention of the ‘086 Patent and

infringed the ‘086 Patent because they make or use the patented system or perform the patented

method of protecting devices connected to the Internet from undesirable operations from web-

based content, by, for example, creating a profile of the web-based content and sending a

representation of these profiles to another computer for appropriate action.

       170.     To the extent the ‘086 Accused Products used a system that includes modules,

components or software owned by third parties, the ‘086 Accused Products still infringed the

‘086 Patent because Defendants are vicariously liable for the use of the patented system by

controlling the entire system and deriving a benefit from the use of every element of the entire



                                                  61
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 62 of 72 PageID #: 62



system. Similarly, to the extent Defendants’ customers performed a step or steps of the patented

method or the ‘086 Accused Products incorporated third parties’ modules, components or

software that performed one or more patented steps, Defendants’ ‘086 Accused Products still

infringed the ‘086 Patent because the ‘086 Accused Products condition receipt by the third

parties of a benefit upon performance of a step or steps of the patented method and established

the manner or timing of that performance.

       171.    For example, as shown below, the ‘086 Accused Products receive and collect

incoming Downloadables, including suspicious web page content containing HTML, PDFs,

JavaScript, drive-by downloads, obfuscated code, or other blended web malware.

Downloadables that pass through the firewall are received by the InsightIDR platform.




Ex. 11 (https://insightidr.help.rapid7.com/docs).




                                                62
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 63 of 72 PageID #: 63




Ex. 10 (Rapid7 Insight Platform Security) at 4.

       172.    The ‘086 Accused Products include Rapid7 Scan Engines, which detect

vulnerabilities and pattern attributes using behavioral analytics to derive a security profile. The

‘086 Accused Products also store certain attributes in a database and use them in the future to

speed up analyses by comparing the behavioral patterns (e.g., pattern attributes) against other

Downloadables.




Ex. 21 (https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities).




                                                  63
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 64 of 72 PageID #: 64




Ex. 22 (https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-

engines).




Ex. 18 (https://www.rapid7.com/solutions/attacker-behavior-analytics/).

       173.   Rapid7 Cloud Products also assign an advanced RealRisk™ score based on a

Common Vulnerability Scoring System (CVSS), temporal risk and asset importance metrics

associated with vulnerabilities associated with the Downloadable.




                                              64
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 65 of 72 PageID #: 65




Exs. 12, 46.

       174.    The ‘086 Accused Products also store these vulnerabilities using a unique ID.




Ex. 15 (Nexpose API 1.1 and 1.2 Guide (v. 6.0)) at 175, 176; see id. at 28, 178.

       175.    The vulnerability data are stored in a database.




                                                65
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 66 of 72 PageID #: 66




Ex. 21 (https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities).

       176.   The ‘086 Accused Products perform a hash of the Downloadables in order to

associate the information with the unique hash of a particular Downloadable.




Ex. 26 (https://www.rapid7.com/explore/insightidr/endpoint-capabilities/index.php?step=8).

       177.   The ‘086 Accused Products append a representation of the Downloadable security

profile data to the Downloadable to generate an appended Downloadable because the ‘086

Accused Products create metadata about suspicious or malicious files which are a representation

of the Downloadable security profile data. These metadata, including for example, the


                                              66
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 67 of 72 PageID #: 67



vulnerability ID, pattern attributes, and RealRisk Score are appended to the Downloadable. For

example, a Downloadable with at least one malware is sent with appended metadata and the

metadata can be readily viewed by selecting an icon




       178.    These metadata are sent appended with a sample or copy of the file in which the

threat appeared, and includes the path to that file, the filename, the date and time, information

pertaining to the downloadable, the process by which the threat appeared and information about

the operating system.




                                                 67
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 68 of 72 PageID #: 68




Ex. 41 (https://www.rapid7.com/explore/insightidr/detect-lateral-movement/index.php?step=3).




Ex. 47 (https://www.rapid7.com/explore/insightidr/detect-lateral-movement/index.php?step=5).

       179.    Defendants’ infringement of the ‘086 Patent injured Finjan in an amount to be

proven at trial, but not less than a reasonable royalty.


                                                  68
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 69 of 72 PageID #: 69



       180.    Defendants have been long-aware of Finjan’s patents, including the ‘086 Patent,

and continued their unauthorized infringing activity despite this knowledge. As discussed above,

Finjan actively and diligently attempted to engage in good faith negotiations with Defendants for

over two years regarding Defendants’ infringement of Finjan’s Asserted Patents. Even after

being shown that their products infringe Finjan’s patents, including the ‘086 Patent, on

information and belief Defendants made no effort to avoid infringement. Instead, Defendants

continued to incorporate their infringing technology into additional products, such as those

identified in this complaint. All of these actions demonstrate Defendants’ blatant and egregious

disregard for Finjan’s patent rights.

       181.    Despite their knowledge of Finjan’s patent portfolio and Asserted Patents, and

their specific knowledge of their own infringement, Defendants continued to sell the Accused

Products in complete and reckless disregard of Finjan’s patent rights. As such, Defendant acted

recklessly, willfully, wantonly, and deliberately engaged in acts of infringement of the ‘086

Patent, justifying an award to Finjan of increased damages under 35 U.S.C. § 284, and attorneys’

fees and costs incurred under 35 U.S.C. § 285.


                                        COUNT XIII
          (Indirect Infringement of the ‘086 Patent pursuant to 35 U.S.C. § 271(b))

       182.    Finjan repeats, realleges, and incorporates by reference, as if fully set forth

herein, the allegations of the preceding paragraphs, as set forth above.

       183.    In addition to directly infringing the ‘086 Patent, Defendants knew or were

willfully blind to the fact that they were inducing infringement of at least Claims 1-23, 31-36, 39,

41 of the ‘086 Patent under 35 U.S.C. § 271(b) by instructing, directing and requiring their

customers to perform the steps of the method claims of the ‘086 Patent, either literally or under

the doctrine of equivalents.


                                                 69
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 70 of 72 PageID #: 70



        184.   Additionally, Defendants knew or were willfully blind to the fact that they were

inducing infringement of at least Claims 1-23, 31-36, 39, 41 of the ‘086 Patent under 35 U.S.C.

§ 271(b) by instructing, directing and requiring their developers to perform the steps of the

method claims of the ‘086 Patent, either literally or under the doctrine of equivalents.

        185.    To the extent one Defendant is deemed to direct and control the other Defendant

to directly infringe the ‘086 Patent, the former Defendant is liable for inducing the latter

Defendant to directly infringe the ‘086 Patent.

        186.   Defendants knowingly and actively aided and abetted the direct infringement of

the ‘086 Patent by instructing and encouraging their customers and developers to use the ‘086

Accused Products. Such instructions and encouragement included advising third parties to use

the ‘086 Accused Products in an infringing manner, providing a mechanism through which

third parties may infringe the ‘086 Patent, and by advertising and promoting the use of the ‘086

Accused Products in an infringing manner, and distributing guidelines and instructions to third

parties on how to use the ‘086 Accused Products in an infringing manner. See, e.g., Ex. 15

(Nexpose API 1.1 and 1.2 Guide (v. 6.0)); Ex. 15

(https://www.rapid7.com/docs/download/Nexpose_API_guide.pdf); Ex. 19

(https://nexpose.help.rapid7.com/docs/working-with-vulnerabilities); Ex. 21

(https://insightidr.help.rapid7.com/docs/threats); Ex. 14

(https://metasploit.help.rapid7.com/docs/vulnerability-scanning-with-nexpose); Ex. 18

(https://www.rapid7.com/solutions/attacker-behavior-analytics/); Ex. 22

(https://nexpose.help.rapid7.com/docs/sending-custom-fingerprints-to-paired-scan-engines);

Ex. 23 (https://blog.rapid7.com/2018/04/17/attacker-behavior-analytics-detects-unknown-

threats/).




                                                  70
  Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 71 of 72 PageID #: 71




                                     PRAYER FOR RELIEF

       WHEREFORE, Finjan prays for judgment and relief as follows:

       A.       An entry of judgment holding that Defendants infringed the ‘305, ‘408, ‘289,

‘918, ‘086, ‘154, and ‘494 Patents; are infringing the ‘305, ‘408, ‘289, and ‘154 Patents;

induced infringement of the ‘305, ‘408, ‘289, ‘918, ‘086, and ‘494 Patents and are inducing

infringement of ‘305, ‘408, and ‘289 Patents.

       B.       A preliminary and permanent injunction against Defendants and their officers,

employees, agents, servants, attorneys, instrumentalities, and those in privity with them, from
infringing the ‘305, ‘408, ‘289, and ‘154 Patents, and from inducing the infringement of the

‘305, ‘408, and ‘289 Patents, and for all further and proper injunctive relief pursuant to 35

U.S.C. § 283;

       C.       An award to Finjan of such past damages, not less than a reasonable royalty, as

it shall prove at trial against Defendants that is adequate to fully compensate Finjan for

Defendants’ infringement of the ‘305, ‘408, ‘289, ‘918, ‘086, ‘154, and ‘494 Patents;

       D.       A determination that Defendants’ infringement has been willful, wanton, and

deliberate and that the damages against it be increased up to treble on this basis or for any other

basis in accordance with the law;

       E.       A finding that this case is “exceptional” and an award to Finjan of its costs and

reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;

       F.       An accounting of all infringing sales and revenues, together with post judgment

interest and prejudgment interest from the first date of infringement of the ‘305, ‘408, ‘289,

‘918, ‘086, ‘154, and ‘494 Patents; and

       G.       Such further and other relief as the Court may deem proper and just.

                                 DEMAND FOR JURY TRIAL

       Finjan demands a jury trial on all issues so triable.




                                                 71
 Case 1:18-cv-01519-MN Document 1 Filed 10/01/18 Page 72 of 72 PageID #: 72



                                          POTTER ANDERSON & CORROON LLP

OF COUNSEL:
                                          By: /s/ Philip A. Rovner
Paul J. Andre                                 Philip A. Rovner (#3215)
Lisa Kobialka                                 Jonathan A. Choa (#5319)
KRAMER LEVIN NAFTALIS                         Hercules Plaza
& FRANKEL LLP                                 P.O. Box 951
990 Marsh Road                                Wilmington, DE 19899
Menlo Park, CA 94025                          (302) 984-6000
(650) 752-1700                                provner@potteranderson.com
                                              jchoa@potteranderson.com
Aaron M. Frankel
KRAMER LEVIN NAFTALIS                     Attorneys for Plaintiff
& FRANKEL LLP                             Finjan, Inc.
1177 Avenue of the Americas
New York, NY 10036
(212) 715-9100


Dated: October 1, 2018
5943233




                                     72
